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 1          Answer:

 2          Exhibit No. 74 is a CV of Mr. Voth. His actual report is not in evidence. You
            must refer to your memory of the evidence.
 3

 4          Dated this 24th day of May, 2024.

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 7                                                  Thomas S. Zilly
                                                    United States District Judge
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     JURY QUESTION No. 1 - 2
